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                                                     July 13, 2016

Via ECF

Honorable Ronnie Abrams
United States District Judge
United States Courthouse
40 Foley Square
New York, New York 10007

                       Re: United States v. Jason Galanis et al
                             16-cr-0371-4 (RA)
Dear Judge Abrams:

        This firm represents defendant Hugh Dunkerley in the above-captioned matter. This
letter/motion is respectfully submitted on behalf of Mr. Dunkerley to request that the conditions
of his bond be modified by suspending the home confinement and location monitoring
provisions of the bond when Mr. Dunkerley travels to New York for meetings with counsel.

        The conditions of Mr. Dunkerley’s bond require home detention with location monitoring
and the monitoring is being conducted where Mr. Dunkerley resides in the Central District of
California. It is the policy of the Central District of California to remove the location monitoring
when a defendant travels outside the District for meetings with counsel. While the bond permits
Mr. Dunkerley to travel to New York for meetings with counsel, the bond is unclear as to the
conditions of his release when visiting New York to meet with counsel. I have been contacted
by Pretrial Services in the Southern District of New York and I was asked to obtain clarification
of the conditions of Mr. Dunkerley’s bond when he visits New York for meetings with counsel.

        During the course of my representation of Mr. Dunkerley he will likely be asked to come
to meet with me in New York on multiple occasions, and accordingly, it would be helpful to
have clarification on the issue of his travel to New York for such meetings so that we will not
need to trouble this Court on each occasion. In the meantime, I have asked Mr. Dunkerley to
come to New York to meet with me during the week of July 18, 2016. He has made reservations
and is scheduled to depart California on July 19, 2016 and arrive in New York in the early
morning hours of July 20, 2016. Mr. Dunkerley will be meeting with me on July 20, 2016, July
21, 2016 and possibly in the morning on July 22, 2016. Additionally, Mr. Dunkerley may have
to attend a court conference before Judge Pauley on July 21, 2016 at 3:00 P.M. in the matter of
SEC v. Archer, et al., 16-cv-3505 (WHP). Mr. Dunkerley is scheduled to depart New York on
July 22, 2016 at 4:30 P.M. and will arrive back in California later that evening. While in New
York, Mr. Dunkerley will be staying at a Hotel in lower Manhattan.1 Mr. Dunkerley has
requested and obtained permission from his supervising Pretrial Officer in California to travel to
New York next week for meetings with counsel.

1 Pretrial services has been (and will be) provided with Mr. Dunkerley’s specific itinerary
including flight numbers and the name and the address of the hotel prior to any travel.
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        Because Mr. Dunkerley does not live in New York, he will need to be able to travel
within New York to meet with me at my office and he will need to be able to purchase food and
tend to his personal needs. I believe that requiring home confinement and location monitoring
while visiting New York for meetings with counsel and while staying at a hotel would present
some logistical issues.

        I have conferred with the Government and we jointly suggest that when Mr. Dunkerley is
making these short trips (of up to two weeks) to New York to meet with counsel, that the
location monitoring and home confinement requirements be suspended during those visits. I
have also conferred with SDNY Pretrial Services Officer Lea Harmon who advises me that
Pretrial Services has no objection to this request. If Mr. Dunkerley opts to relocate to New York
as this matter gets closer to trial, we will request a further adjustment to Mr. Dunkerley’s bail
conditions at that time.

        In light of the above, I respectfully request that the location monitoring and home
confinement aspects of Mr. Dunkerley’s bond be suspended when he visits New York for
meetings with counsel so long as his visits are for a period of time of two weeks or less. If any
visit will exceed a two week stay, we will seek further guidance from the Court.

       Thank you in advance for Your Honor’s consideration in this matter.

                                                     Respectfully submitted,



                                                     Joseph A. Grob

cc:    AUSA Aimee Hector (via ECF & email)
       AUSA Brian Blais (via ECF & email)
       AUSA Rebecca Mermelstein (via ECF & email)
       Hugh Dunkerley (via email)
